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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       )   No. 23-CR-00010 HSG
                                                     )
14           Plaintiff,                              )   UNITED STATES’ SENTENCING MEMO
                                                     )
15      v.                                           )
                                                     )   Date: May 21, 2025
16   BRENT SOURA,                                    )   Time: 2:00 p.m.
                                                     )
17           Defendant.                              )
                                                     )
18

19 I.        BACKGROUND
20           Defendant Brent Soura conspired with his co-defendant, Tracy Collins, to forge prescriptions for
21 narcotics using the Drug Enforcement Agency prescriber numbers of a number of licensed medical

22 professionals. He also forged the providers’ signatures on the counterfeit prescriptions. It appears that

23 Soura and Collins did this in order to feed their long-standing and serious drug addiction. Soura

24 personally obtained at least 5,165 pills, namely oxycodone, alprazolam, modafinil, and 280 fentanyl

25 patches through these acts of identity theft.

26           On January 12, 2023, the government filed a four-count Indictment, charging Soura and Collins
27 with Conspiracy to Commit Identity Theft and Fraud Related to Identification Documents (Count One),

28 in violation of 18 U.S.C. § 1028(f), and Identity Theft (Counts Two through Four), in violation of 18

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 1 U.S.C. § 1028(a)(7). Soura was charged in Counts One, Three, and Four. (ECF 1.)

 2          On January 5, 2024, Soura accepted responsibility for his crimes, and entered guilty pleas on

 3 Counts One and Four. Pursuant to the parties’ plea agreement, the government agreed to dismiss Count

 4 Three, and hereby moves to dismiss Count Three. (ECF 120.)

 5          The parties’ plea agreement called for Soura to participate in the Convictions Alternatives

 6 Program (CAP), from which Soura successfully graduated last month. (PSR ¶ 6.) In light of Soura’s

 7 successful completion of CAP, the government recommends a sentence of time served.

 8 II.      SENTENCING GUIDELINES CALCULATIONS

 9          Probation calculates Soura’s Sentencing Guidelines as follows:

10          a. Base Offense Level, U.S.S.G. § 2B1.1(a)(2):                                     6

11          b. Specific offense characteristics:

12                 • § 2B1.1(b)(2)(A)(i) (10+ victims)                                         +2

13                 • § 2B1.1(b)(11)(A)(ii) (authentication feature)                            +4

14          c. Acceptance of Responsibility § 3E1.1:                                           -2

15          d. Adjusted Offense Level:                                                         10

16 (PSR ¶¶ 28-37.) Although this calculation differs from that set forth in the parties’ plea agreement

17 (which applied only a +2 under § 2B1.1(b)(11)(A)(ii), instead of bumping up the offense level to 12),

18 the government agrees that Probation’s calculations are correct.

19          The parties have not reached any agreement regarding Soura’s criminal history. Probation has

20 calculated that Soura’s criminal history score is 1, and he therefore falls into Criminal History Category

21 I. (Id. at ¶ 43.) The government agrees with Probation’s criminal history calculations. As reflected in

22 the PSR, the Guidelines range for imprisonment associated with adjusted offense level 10 and Criminal

23 History Category I is 6-12 months. (Id. at ¶ 71.)

24 III.     GOVERNMENT’S SENTENCING RECOMMENDATION

25          A.     Legal Standard

26          The United States Sentencing Guidelines serve as “the starting point and the initial benchmark”

27 of any sentencing process and are to be kept in mind throughout the process. See United States v. Carty,

28 520 F.3d 984, 991 (9th Cir. 2008); see also United States v. Kimbrough, 522 U.S. 85, 108 (2007). The

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 1 overarching goal of sentencing, as set forth by Congress, is for the Court to “impose a sentence

 2 sufficient, but not greater than necessary.” Carty, 520 F.3d at 991. In accomplishing that goal, the

 3 Court should consider the factors set forth under 18 U.S.C. § 3553(a), which include:

 4          (1) the nature and circumstances of the offense and the history and characteristics of the

 5 defendant;

 6          (2) the need for the sentence imposed to reflect the seriousness of the offense, to promote respect

 7 for the law, and to provide just punishment for the offense;

 8          (3) the need for the sentence imposed to afford adequate deterrence to criminal conduct; and

 9          (4) the need to avoid unwarranted sentence disparities among defendants with similar records

10 who have been found guilty of similar conduct.

11          B.     The Government’s Recommended Sentence

12          As noted in the PSR, Soura has successfully completed CAP, graduating from the program on

13 April 7, 2025. By all accounts, Soura has done extremely well in CAP. The government congratulates

14 Soura on the work he has done to forge a new life path and encourages him to continue doing the hard

15 work that will be required to maintain it. Based on Soura’s successful completion of CAP, the

16 government recommends that the Court sentence him to time served.

17 IV.      CONCLUSION

18          For the foregoing reasons, the United States recommends that the Court sentence Soura to time

19 served, three years of supervised release, and a $200 special assessment.

20

21 DATED: May 14, 2025                                            Respectfully submitted,

22                                                                PATRICK D. ROBBINS
                                                                  Acting United States Attorney
23

24
                                                                  /s/ Wendy M. Garbers
25                                                                WENDY M. GARBERS
                                                                  Assistant United States Attorney
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